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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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YOEL WEISSHAUS,

                                            Plaintiff,
                                                                           11 Civ. 6616 (RKE)
        -against-
                                                                           ORDER
PORT AUTHORITY OF NEW YORK
AND NEW JERSEY,

                                            Defendant.

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                                                    ORDER

        The Court hereby amends its order of May 22, 2023, ECF No. 188, ruling on Plaintiff’s

letter motion for discovery and submission of a rebuttal expert, ECF No. 187, to now read as

follows:

        It is hereby

        ORDERED that Plaintiff’s request to present a rebuttal expert is granted upon the

condition that the Court determines such witness is an expert qualified to explain, repel, counteract,

or disprove evidence presented by Elizabeth McCarthy during her deposition on April 20, 2023; it

is further

        ORDERED that Plaintiff shall provide the Court and the Port Authority with a written

expert report that complies with the requirements of Federal Rule of Civil Procedure 26(a)(2)(B),

along with any proposed expert rebuttal testimony offered in addition to what is included in the

aforementioned report, by no later than Friday, July 21, 2023; and it is further

        ORDERED that the Court will reserve decision on the Port Authority’s request for leave
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to permit the parties to amend their respective motions for summary judgment until after Plaintiff’s

request for a rebuttal expert has been resolved.




                                                                       /s/ Richard K. Eaton
                                                                       U.S.D.J., by Designation
Dated: June 6, 2023
       New York, New York
